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                       UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TEXAS

 STATE OF TEXAS, ET AL.,

                   Plaintiff

                      v.                       Civil Action No. 4:20-cv-957-SDJ

 GOOGLE LLC,

                 Defendant.

   ORDER GRANTING TEXAS DEPARTMENT OF MOTOR VEHICLES’ MOTION TO
    QUASH DEPOSITION SUBPOENA AND MOTION FOR PROTECTIVE ORDER
         This matter came before the Court pursuant to the Texas Department of Motor

 Vehicles (TxDMV) Motion to Quash Deposition Subpoena, Motion for Protective

 Order, and Request for Submission. In its motion, TxDMV requested the Court to

 quash the deposition subpoena served on March 28, 2024, in the above captioned

 case.

         Having considered TxDMV’s Motion to Quash, Motion for Protective Order,

 Plaintiff’s response, and Google’s reply (if any), the Court concludes that the Motion

 should be granted.

         Accordingly, the Court ORDERS that TxDMV’s Motion to Quash is

 GRANTED. The Court further ORDERS that the deposition subpoena served on

 TxDMV on March 28, 2024, is quashed in its entirety. Additionally, the Court

 ORDERS that TxDMV’s Motion for Protective Order is GRANTED and that neither
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 TxDMV nor its officers can be further subject to subpoenas, motions, or compelled

 to appear at any other time with regards to the above case.

 IT IS SO ORDERED.
